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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION – at Cincinnati

HUNTER DOSTER, et al.,                         :       Case No. 1:22-cv-00084-MWM

       Plaintiffs,                             :

v.                                             :

FRANK KENDALL, et al.,                         :

       Defendants.                             :

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST FOR A STAY AND
      PLAINTIFFS’ REQUEST FOR PERMISSION TO SUPPLEMENT THEIR FEE
              APPLICATION AT THE END OF ANY STAY GRANTED
       Defendants, through Counsel, have asked this Court for a stay on the completion of briefing

for Plaintiffs’ pending motion for attorneys’ fees and costs (Doc. 129). Defendants seek a stay “at

least until [Plaintiffs’] appeal has been completed,” and also until after the Supreme Court decides

Lackey v. Stinnie, No. 23-621, 2024 WL 1706013 (U.S. Apr. 22, 2024), which will address a circuit

split on when a party is considered a prevailing party after obtaining a preliminary injunction.

(Doc. 134.)

       Plaintiffs oppose Defendants’ stay request for three reasons: (i) this Court entered a final

judgment, thus a motion for attorneys’ fees and costs is now ripe. It is appropriate for the Court to

undertake that task now even though there will be additional litigation because, regardless of the

outcome of the pending appeal, nothing in that appeal will undo Plaintiffs’ prevailing party status

under Sixth Circuit case law; (ii) there is a unanimous consensus among all the federal circuits that

a preliminary injunction can confer prevailing party status. For this reason, it is extremely unlikely

that the Supreme Court is going to depart from every single federal circuit in addressing that issue

and denying prevailing party status in every instance of a preliminary injunction. And, as it turns

out, the Sixth Circuit has one of the most onerous prevailing party standards in all of the federal

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circuits, yet that standard is met here, and so Lackey will not be outcome determinative of the

pending fee motion; and (iii) the factors for a stay simply are not met here.

       However, if the Court is inclined to grant a stay, Plaintiffs respectfully request permission

to supplement their motion for attorneys’ fees and costs at the conclusion of any stay period.

       1. This Court entered a final judgment, so a motion for attorneys’ fees and costs is
          now ripe. It is appropriate for the Court to undertake that task now because,
          regardless of the outcome of the pending appeal, nothing in that appeal will undo
          Plaintiffs’ prevailing party status under Sixth Circuit case law

       First, to address Defendants’ false contention that there is no authority for Plaintiffs’ fee

application, it is a fact that the dismissal of this case (Doc. 127 and 128) is a final order. And the

clerk’s judgment entered in accordance with the opinion makes that fact clear. (Doc. 128.) Under

FRCP 54(a), the order was final – and Defendants do not actually contend that Plaintiffs’ appeal

is not from a final order. (Doc. 134.) Under FRCP 54(d)(2) and L.R. 54.2, “a motion for attorney’s

fees under Fed. R. Civ. P. 54 must be filed not later than forty-five days after the entry of

judgment.” L.R. 54.2. Again, Defendants do not contend otherwise. Plaintiffs’ fee motion is ripe.

       Defendants cite Kryder v. Estate of Rogers, 321 F. Supp. 3d 803, 809–10 (M.D. Tenn.

2018) as a basis for a stay contending that the “many courts have found it prudent for reasons of

judicial economy to defer ruling on a request for attorney’s fees until after an appeal has been

completed.”

       Yet that same case makes clear that the weight of authority is in favor of determining fees

promptly and not awaiting a determination of an appeal. “Under the Advisory Committee Notes

relating to judgments, ‘[i]f an appeal on the merits of the case is taken, the [district] court may

rule on the claim for fees, may defer its ruling on the motion, or may deny the motion without

prejudice[.]’” Id. at 809, citing Fed. R. Civ. P. 54(d) Advisory Committee Notes, 1993

Amendments (emphasis added). Yet here, the fundamental underpinning of the advisory

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committee note, and the premise of Defendants’ motion for stay, is missing. Here, there is no

appeal of the merits of the case. Here, there is only an appeal of a mootness determination raising

the issue of whether additional relief is appropriate. Simply put, the permissive advisory committee

note is not triggered, so no permissive stay is warranted.

       In fact, the cases that suggest deferring adjudication for an appeal have only employed that

procedure when an appeal will or could actually change the outcome of the merits. See, e.g.,

Kryder, 321 F. Supp. 3d 803 (deferring because summary judgment may be reversed potentially

changing prevailing party analysis); United States ex rel. Harper v. Muskingum Watershed

Conservancy Dist., No. 5:13CV2145, 2016 U.S. Dist. LEXIS 45955, 2016 WL 1321521, at *1

(N.D. Ohio Apr. 5, 2016) (deferring ruling on request for attorneys’ fees because there was an

appeal on the merits that may affect prevailing party analysis); Medison Am., Inc. v. Preferred

Med. Sys., LLC, No. 05-2390-V, 2008 U.S. Dist. LEXIS 130062, 2008 WL 11411339, at *2 (W.D.

Tenn. Jan. 29, 2008) (same).

       Here, and as briefed in Plaintiffs’ motion for attorneys’ fees (Doc. 129), that is not the case.

The preliminary injunctions were issued based on an analysis of the merits (Doc. 47, 72, 77), were

not undone on the merits (Doc. 123), and irrevocable relief was granted to the named Plaintiffs

and the class that remained of record for a substantial period of time (Doc. 129) – enough time for

Congress and the Department of Defense and the Department of the Air Force to rescind and

correct most of the harm, permitting the vacating of those preliminary injunctions on grounds of

mootness. (See Doc. 129.) That was enough to confer prevailing party status under applicable Sixth

Circuit precedent. See Doc. 129; Roberts v. Neace, 65 F.4th 280 (6th Cir. 2023).

       The question on appeal here will not undo those salient facts or the law; the appeal issue is

merely whether additional relief is appropriate – specifically whether the Court can legally award



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equitable restitution in the form of lost retirement points and back pay to reservists who were

discriminated against.

       Defendants contend that the appeal could somehow undo those salient events and

determinations, and Defendants cite inapposite cases wherein a merits-based appeal could actually

change the final outcome of the prevailing party analysis. See, e.g., Nat’l Farmers’ Org., Inc. v.

Associated Milk Producers, Inc., 850 F.2d 1286, 1312 (8th Cir. 1988). Once again, that is not the

case with the pending appeal. And the chances of the Sixth Circuit ultimately reversing course on

the merits, given a still published and binding stay decision that weighed the merits, is near (if not)

zero. See Doster v. Kendall, 48 F.4th 608 (6th Cir. 2022). In that regard, the chance of invoking

Sole v. Wyner, 551 U.S. 74, 86 (2007), is near (if not) zero.

       Defendants suggest that if the appellate court reverses, and litigation continues, that a fee

application may look different (if by different, they mean higher in that more hours will be incurred

and the rates will change under the Rubin factors because of the yearly inflationary adjustment,

then they are correct). Yet that scenario is common with protracted civil rights litigation.

       And case law is equally clear that, in those instances, an attorney fee application is

appropriate where prevailing party status has been clearly established. In Webster v. Sowders, 846

F.2d 1032 (6th Cir. 1988), the Court summarized the law concerning interim awards of fees:

               Interim attorney fees awarded during the pendency of litigation are
               permissible and thus within the authority of the district court when
               the court has entered a concrete order that determines substantial
               rights of the parties, meaning when a party has prevailed on the
               merits of at least some of his claims. Interim fees are especially
               appropriate when a party has prevailed on an important matter in a
               case, even if the party ultimately does not prevail on all issues. The
               Supreme Court has declared that, particularly in complex cases of
               long duration, delaying a fee award until the conclusion of litigation
               would work substantial hardship on plaintiffs and their counsel and
               discourage the institution of actions that Congress intended to
               encourage by passage of attorney fee statutes.


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                It is true that a party may be considered “prevailing” under 42 U.S.C.
                § 1988 when, as here, he has secured preliminary but not yet
                permanent injunctive relief. However, to qualify a plaintiff as
                “prevailing” the preliminary relief obtained must represent an
                unambiguous indication of probable success on the merits, and not
                merely a maintenance of the status quo ordered because the balance
                of equities greatly favors the plaintiff. …

Id. at 1036 (internal citations and quotation marks omitted). See also Doe v. Baum, 2019 U.S. Dist.

LEXIS 169625 (MIED 2019) (explaining that interim fees were not appropriate because the

litigation had not yet reached the point where Plaintiff was a prevailing party); Tucker v. City of

Fairfield, 2006 U.S. Dist. LEXIS 16996 (SDOH 2006) (same); Arriola v. Kentucky, 2019 U.S.

App. LEXIS 24117 (6th Cir. 2019 (same).

        Defendants unconvincingly argue that an adverse determination on the present appeal

could inform the fee application analysis. (Doc. 134 at 5-6.) Yet Defendants fail to explain how

that is or could be so. If the additional requested relief is not warranted, it is not warranted. But it

would not change the fact that preliminary injunctions were issued based on an analysis of the

merits and after a hearing (Doc. 47, 72, 77), were not undone on the merits (Doc. 123), and

irrevocable relief was granted to the named Plaintiffs and the class that remained of record for a

substantial period of time (Doc. 129) – enough time for Congress and the Department of Defense

and the Department of the Air Force to rescind and correct most of the harm, permitting the

vacating of those preliminary injunctions on grounds of mootness. (See Doc. 129.) Nor would it

undermine the law that these events were enough to confer prevailing party status under applicable

Sixth Circuit precedent. See Doc. 129; Roberts v. Neace, 65 F.4th 280 (6th Cir. 2023).

        Defendants acknowledge they disagree with the foregoing analysis and intend,

unsurprisingly, to oppose Plaintiffs’ motion for fees. Defendants then bootstrap their disagreement

into an issue that, they boldly assert, warrants a stay. (Doc. 134 at 6.) In support, Defendants cite

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the unpublished Price v. Medicaid Dir., Office of Med. Assistance, No. 1:13-cv-74, 2016 WL

8201769, at *1 (S.D. Ohio Feb. 1, 2016). Yet that case also involved a stay in the face of an appeal

on the merits, an appeal that could affect the prevailing party determination – something that is

unquestionably not the case here.

       2. There is a unanimous consensus among all the federal circuits that a preliminary
          injunction can confer prevailing party status. For this reason, it is extremely
          unlikely that the Supreme Court is going to depart from every single federal
          circuit in addressing that issue and denying prevailing party status in every
          instance of a preliminary injunction. And, the Sixth Circuit has one of the most
          onerous prevailing party standards in all of the federal circuits for a prevailing
          party, yet that standard is met here, and so Lackey will not be outcome
          determinative of the fee motion.

       Defendants next claim that the determination in Lackey v. Stinnie, No. 23-621, 2024 WL

1706013 (U.S. Apr. 22, 2024) may change the result in this case, warranting a stay. Not so. First,

the Supreme Court has repeatedly been asked to review the Sixth Circuit’s prevailing party law in

a preliminary injunction context and has repeatedly declined to do so. See Planned Parenthood

Sw. Ohio Region v. Dewine, 931 F.3d 530 (6th Cir. 2019), cert. denied at Yost v. Planned

Parenthood Sw. Ohio Region, 207 L. Ed. 2d 1115 (2020); Tennessee State Conf. of the NAACP v.

Hargett, 53 F.4th 406 (6th Cir. 2022), cert. denied at Hargett v. Tenn. State Conf. of the NAACP,

143 S. Ct. 2609 (2023).

       As noted, the Sixth Circuit has one of the most onerous standards in the country for

prevailing party status for preliminary injunctions. As Chief Judge Sutton recently explained in

Roberts v. Neace, 65 F.4th 280, 284 (6th Cir. 2023), a preliminary injunction confers prevailing

party status in the Sixth Circuit when “it mainly turns on the likelihood-of-success inquiry and

changes the parties’ relationship in a material and enduring way.” Prevailing party status is not

conferred by a preliminary injunction that does not address the merits, was hastily entered without

a hearing, or that is undone on the merits. Id. And the court-ordered change requirement is met

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where a court order stops the government from acting towards the plaintiffs in ways that the

government previously resisted. Id. The Sixth Circuit also looks at the time period that the

injunctive relief endured, with six months or longer counting towards enduring relief for First

Amendment protected activities. Id. at 285.

       Here, preliminary injunctions were issued based on an analysis of the merits and after a

hearing (Doc. 47, 72, 77), were not undone on the merits (Doc. 123), and irrevocable relief was

granted to the named Plaintiffs and the class that remained of record for a substantial period of

time (Doc. 129) – enough time for Congress and the Department of Defense and the Department

of the Air Force to rescind and correct most of the harm, permitting the vacating of those

preliminary injunctions on grounds of mootness. (See Doc. 129.) All of that is to say, again, that

the relief to date satisfies the Sixth Circuit standard. See Roberts v. Neace, 65 F.4th 280, 284-285.

       Other circuits have not imposed these onerous requirements for prevailing party

determinations in preliminary injunctions. In the First Circuit, only a court-ordered “material

alteration of the parties’ legal relationship that has taken place as a result of the litigation” is

required. Hutchinson ex rel. Julien v. Patrick, 636 F.3d 1, 8 (1st Cir. 2011). The same is true in

the Second, Ninth, Tenth, Eleventh, and D.C. Circuits. See Vacchio v. Ashcroft, 404 F.3d 663, 674

(2d Cir. 2005); Higher Taste v. City of Tacoma, 717 F.3d 712 (9th Cir. 2013); Kan. Judicial Watch

v. Stout, 653 F.3d 1230 (10th Cir. 2011); Common Cause/Georgia v. Billups, 554 F.3d 1340 (11th

Cir. 2009); Select Milk Producers, Inc. v. Johanns, 400 F.3d 939 (D.C. Cir. 2005).

       Yet the Sixth Circuit is joined in its analysis, of requiring a merits-based preliminary

injunction that is on the books a fair amount of time, providing relief that is not undone on the

merits, to be sufficiently enduring to grant prevailing party status, by the Third, Fourth, Seventh,

and Eighth Circuits. See People Against Police Violence v. City of Pittsburgh, 520 F.3d 226 (3d



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Cir. 2007); Stinnie v. Holcomb, 77 F.4th 200 (4th Cir. 2023); Dupuy v. Samuels, 423 F.3d 714 (7th

Cir. 2005); N. Cheyenne Tribe v. Jackson, 433 F.3d 1083 (8th Cir. 2006). Only the Fifth Circuit is

an outlier requiring that the mooting event be in response (usually established through timing

considerations) to the preliminary injunction. See Dearmore v. City of Garland, 519 F.3d 517 (5th

Cir. 2008).

        Regardless of whether the Supreme Court adopts the less stringent test employed by the

First, Second, Ninth, Tenth, Eleventh, or D.C. Circuits, or the more stringent test employed by the

Third, Fourth, Sixth, Seventh, and Eighth Circuits, the result is the same: Plaintiffs are prevailing

parties under either of these tests. (See Doc. 129.)

        Given de novo review of the prevailing party question in the Sixth Circuit, Radvansky v.

City of Olmsted Falls, 496 F.3d 609, 619 (6th Cir. 2007), judicial economy favors resolving the

fee question now, and the Sixth Circuit plainly can apply the outcome of Lackey to any fee appeal.

        3. The factors for a stay are not met here.

        Defendants point to Griffith v. Menard, Inc., No. 2:18-CV-81, 2018 WL 1907348, at *2

(S.D. Ohio Apr. 23, 2018) (quoting FTC v. E.M.A. Nationwide, Inc., 767 F.3d 611, 626–27 (6th

Cir. 2014)) and Landis v. North American Co., 299 U.S. 248, 254–55 (1936) for the factors for a

stay. Although there is no precise test for considering when a stay of further proceedings is

appropriate, courts often consider “(1) the need for a stay; (2) the stage of litigation; (3) whether

the non-moving party will be unduly prejudiced or tactically disadvantaged; (4) whether a stay

will simplify the issues; and (5) whether burden of litigation will be reduced for both the parties

and the court.” Griffith, 2018 WL 1907348, at *2. Defendants argue that all these factors are in

their favor, but that plainly is not the case. As to the first factor, and as demonstrated above, there

is no need for a stay; further, a stay to await litigation that will not change the outcome of Plaintiffs’



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prevailing party status, or to permit the Supreme Court to resolve a circuit split that will not change

the outcome of Plaintiffs’ prevailing party status, is unnecessary. As to the second factor, the stage

of litigation is the eleventh hour – the Court has dismissed the matter and while that determination

is on appeal, a stay is not warranted.

       As to the third factor, Defendants have the gall to assert there will be no prejudice from

their requested delay. Defendants are wrong. Plaintiffs will be prejudiced – a stay that could last a

year or more and the delay of payment to counsel who have already devoted more than two years’

worth of significant amounts of attorney time in highly contested litigation with the United States

government (who has asymmetrical resources) is a hardship. As proof of wanting their cake and

eating it too, Defendants complain about the lengthy pages of documentation contained in

counsel’s invoices, while completely ignoring the fact that if Defendants get their way, relatively

small law firms must continue to await payment after having devoted significant resources

combating Defendants’ unconstitutional activities.

       As to the fourth factor, there is no simplifying the issues that would result from a stay here

– the Court should adjudicate the fee issue now, to permit prompt review, as an appeal of any fee

award is forthcoming regardless of the determination, and it behooves everyone to address that

issue now, rather than later so that the Sixth Circuit can weigh in.

       Finally, and as noted, there is no burden that will be reduced by a stay. Appellate

proceedings of any fee decision are going to occur, and it is most economical to have those occur

sooner rather than later.

       4. If this Court does grant a stay, Plaintiffs should be permitted, within 30 days after
          the conclusion of the stay, to supplement their fee application.

       While Plaintiffs believe a stay would be inappropriate and would increase the burden on

the instant firms in continuing to carry this litigation, if the Court grants a stay, it should permit

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Plaintiffs, within 30 days of the lifting of any stay, to supplement their fee application. That

supplementation would first be with respect to the then-current Rubin rates, which will have an

inflationary adjustment for the passage of time (and depending on the length of the stay, some of

the billing attorneys may move into other categories). Current year rates are awarded because they

are “a reasonable way to account for the delay in payment to plaintiff’s attorneys while this case

has been pending.” See Lankford v. Reladyne, LLC, 2016 U.S. Dist. LEXIS 85003 at *10 (SDOH

2016); Barnes v. City of Cincinnati, 401 F.3d 729, 745 (6th Cir. 2005) (using the “current” market

rate in calculating plaintiff's attorney fees “because the litigation had been ongoing for nearly six

years”); Gonter v. Hunt Valve Co., Inc., 510 F.3d 610, 617 (6th Cir. 2007) (awarding 2004 rates

for work done in 2001, 2002, and 2003 to compensate the firm for waiting several years for

payment); Bank One, N.A. v. Echo Acceptance Corp., 595 F. Supp. 2d 798, 801 (SDOH 2009).

        It would also include supplementation with respect to additional time incurred in this

litigation.

                                         CONCLUSION

        Defendants’ stay motion should be denied. But if it is granted, Plaintiffs respectfully

request permission to supplement their fee applications within 30 days of any lifting of a stay.

Respectfully submitted,

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                                CERTIFICATE OF SERVICE
      I certify that I have served a copy of the foregoing upon all Counsel of record, this 23 day
of May, 2024, through CM/ECF, which will provide service to all counsel of record.
/s/ Christopher Wiest___________
Christopher Wiest (OH 0077931)




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